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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

CHARLES ROMEO CIVIL ACTION
Vs. NO. 0868
CAESAR'S ENTERTAINMENT
OPERATING COMPANY, INC. d/b/a
HARRAH'S RESORT ATLANTIC CITY ©
NOTICE OF REMOVAL

TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA:

Defendant, HARRAH'’S ATLANTIC CITY PROPCO, LLC (Incorrectly
designated as "CAESAR'S ENTERTAINMENT OPERATING COMPANY, INC. d/b/a
HARRAH'S RESORT. ATLANTIC CITY") (hereinafter referred to as “Defendant”), by
and through their attomeys, Mintzer, Sarowitz, Zeris, Ledva & Meyers, LLP. hereby
remove the above-captioned case to this Honorable Court and provide notice of same to
Counsel representing Plaintiff. In support of this Notice of Removal, the Defendant avers
as follows:

1. On February 11, 2013, Plaintiff filed a Complaint in the Court of Common
Pleas of Philadelphia County. (See a copy of the Complaint, attached hereto and marked
as Exhibit “A’”’.)

2, In the Complaint, Plaintiff avers that he is a resident of Philadelphia,
Pennsylvania. (See Exhibit “A”’.)

| 3. Plaintiff is domiciled at his Philadelphia, Pennsylvania address listed in

the Complaint and thus, he is a citizen of Pennsylvania.

 
 

 

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4, Plaintiff alleges that this incident occurred on the premises of
“Defendant,” located in Atlantic City, New J ersey. (See Exhibit “A”)

5. Plaintiff is a citizen of Pennsylvania and Defendant, Harrah's Atlantic City
Propco, LLC (Incorrectly designated as "CAESAR'S ENTERTAINMENT OPERATING
COMPANY, INC. d/b/a HARRAH'S RESORT ATLANTIC CITY"), is a citizen of, and
incorporated in, New Jersey, both at the time of filmg of the Complaint, continuing to,
and including the time of filing of this Notice of Removal.

6. Thus, there exists diversity of citizenship for this Court to have
jurisdiction over this matter.

7. In the Complaint, Plaintiff seeks damages in excess of the State Court
arbitration limit of $50,000. (See Exhibit “A”.)

8. Further, Plaintiff specifically alleges that he suffered mjuries including,
but not limited to bilateral lumbar radiculopathy with possible herniated nucleus
pulposus; bilateral knee contusions/strain; tight ankle tendonitis; and other various
contusions and abrasions, and/or has an aggravation of pre-existing condition(s)
concerning body parts and functions, which are or may be a severe shock to the nervous
system, and are serious, severe and permanent. (See 4 10 of the Complaint, attached as
Exhibit “A’’.) | |

9. Additionally, Plaintiff alleges that he suffered sever and permanent
injuries, including but not limited to injuries to his right foot and ankle, low back and left
knee, and a severe shock to his nerves and nervous system, all of which injuries are Or

will prove to be of a permanent nature or character, whereby he has suffered, is suffering,

 
 

 

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and will suffer for an indefinite time into the future, all to his great detriment and loss.
(See § 11 of the Complaint, attached as Exhibit “A’’.)

10. Additionally, Plaintiff alleges that because of this alleged incident, he has
been prevented from his usual and customary wants, duties, toils, labors, occupations and
avocations, thereby foregoing the pleasues and emoluments attendant thereto, all to his
great detriment and loss. (See § 12 of Plaintiff's Complaint, attached hereto as Exhibit
“A”.) |

11. ‘Further, Plaintiff alleges that because of the alleged incident, he has and
may in the future be required to expend various sums of money in an endeavor to treat
and cure himself of his aforesaid injuries, al to his great detriment and loss. (See {13 of
Plaintiffs Complaint, attached hereto as Exhibit “A”’.)

12. Based on the allegations of Plaintiffs Complaint, the amount in

. controversy is certainly alleged to be in excess of $75,000. (See Exhibit “A”.)

13. As such, the above-captioned Civil Action is one m which this Honorable
Court has original jurisdiction pursuant to Title 28: United States Code § 1332, based
upon the fact that there exists diversity of citizenship between the parties and the amount
in controversy is alleged to be in excess of $75,000, and it is accordingly one which may
be removed to this Honorable Court by notice pursuant to Title 28 United States Code §
1441.

WHEREFORE, Defendant, HARRAH'S ATLANTIC CITY PROPCO, LLC
(Incorrectly designated as "CAESAR'S ENTERTAINMENT OPERATING COMPANY,

INC. d/b/a HARRAH'S RESORT ATLANTIC CITY"), respectfully requests that the

 
 

 

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above action now pending in the Court of Common Pleas Philadelphia County be

removed to this Court.

MINTZER, SAROWITZ, ZERIS, LEDVA
& MEYERS, LLP //

 

BY:

 

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LAWRENCE# M. KELLY, ESQUIRE
Attorney for Defendant(s), HARRAH'S ATLANTIC
CITY PROPCO, LLC (Incérrectly designated as
"CAESAR'S ENTERTAINMENT OPERATING
COMPANY, INC. d/b/a HARRAH'S RESORT
- ATLANTIC CITY")

Centre Square, West Tower

1500 Market Street

Suite 4100
Date: 03/04/2013 ‘Philadelphia, PA 19102
(215) 735-7200
MSZLE&M File No. 007770.000334

 
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EXHIBIT “A”
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USTED ESTA ORDENADO COMPARECER EN Arbitration Hearing 1880 JFK Blvd. Sth fl. at 09:30 AM - 10/17/2013
You must still comply with the notice beiow. USTED TODAVIA DEBE CLJPLIR CON EL AVISO PARA DEFENDERSE.
This matter will be heard by a Board of Arbitrators at the time, date and place specified but, if one or more parties is not present -
at the nearig OAY ARD al ANAeOR oR ame time and date before a judgis dp iaB Anhitnatsqummadeent party or parties.
There is noBiyht BinAN dd ORh OFEESOoERecision entered by a Judyssessment of damages hearin

HOWARD A. TAYLOR, ESQUIRE ————_ is required.

   

 

 

Identification Nos: 4821 7/41224

123 South Broad Street, Suite 1316
Philadelphia, PA 19109 Attorney for Plait
(215) 732-9300

 
  

 

 

 

CHARLES ROMEO
1807 8. 8th STREET
PHILADELPHIA, PA 19148

: PHILADELPHIA COUNTY

v. : COURT OF COMMON PLEAS

: TRIAL DIVISION
CAESAR’S ENTERTAINMENT OPERATING :
COMPANY, INC., d/b/a HARRAH’S RESORT : FEBRUARY TERM, 2013
ATLANTIC CITY :
777 HARRAH’S BOULEVARD : No.
ATLANTIC CITY, NJ 08401 :

COMPLAINT ;

1. Plaintiff, Charles Romeo, is a citizen and resident of the Commonwealth of Pennsylvania, “

residing therein at 1807 S. 8" Street, Philadelphia, PA 19148.

2. Defendant, Caesar’s Entertainment Operating Company, Inc., d/b/a Harrah’s Resort
Atlantic City (hereinafter “Harrah’s”), is a corporation, organized and existing under the laws of
the State of Delaware, and maintains a place of business at 777 Harrah’s Boulevard, Atlantic
City, Atlantic County, New Jersey 08401.

3. At all times relevant hereto, the defendant conducted regular, substantial and continuous
business in the Commonwealth of Pennsylvania in general and Philadelphia County specifically.
4, Defendant maintains a regular and continuous place of busimess known as Harrah’s
Philadelphia Casino and Racetrack located at 777 Harrah’s Boulevard, Chester, Pennsylvania
19013.

5. Based upon information and belief, defendant has agreed to accept service and be subject
to the jurisdiction of the Philadelphia Court of Common Pleas due to the operation of its business

known as Harrah’s Philadelphia Casino and Racetrack.

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6. On or about March 19, 2011, plaintiff, Charles Romeo, was lawfully on the premises of
the defendant, when he was caused to slip and fall upon a dangerous and defective condition of
the premises causing plaintiff to fall and sustain the injuries more specifically enumerated herein
below,

7. The aforesaid premises were at all times relevant hereto under the exclusive care and
control of defendant.

8. At the aforesaid time and place, defendant owed a duty of care by and through their
servants, agents and employees to maintain the aforesaid premises in a reasonably safe condition
for persons, including plaintiff, Charles Romeo, lawfully upon the aforesaid premises.

9, At the aforesaid time and place, defendant, by and through its servants, agents, and
employees, negligently and carelessly:

a. created, maintained and/or allowed to continue a dangerous and hazardous
condition on its aforesaid premises of which it knew, or in the exercise of
reasonable care should have known;

b. failed to warn or otherwise advise those lawfully upon the aforesaid premises of
the said dangerous and hazardous condition;

- ¢. failed to place barriers, signs, lights and other devices upon or near the aforesaid
condition to warn those lawfully upon the aforesaid premises of its existence;

d. failed to remove or repair the aforesaid dangerous and hazardous condition;

€. was in other ways negligent, careless, reckless, willful and wanton at law;

f. allowed a dangerous and hazardous condition to exist which defendant knew or,
in the exercise of reasonable care, should have known caused an unreasonable
risk of harm to the public and, more particularly, to the plaintiff herein; and

g. failed to exercise due care with regard to the person of plaintiff, Charles Romeo,

under all of the circumstances of the case.

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10. Asa direct and proximate result of defendant’s negligence as aforesaid, plaintiff, Charles
Romeo, sustained injuries including, but not limited to bilateral lumbar radiculopathy with
possible herniated nucleus pulposus; bilateral knee contusions/strain; right ankle tendonitis; and
other various contusions and abrasions, and/or has an aggravation of pre-existing condition(s)
concerning body parts and functions, which injuries are or may be a severe shock to the nervous
system, and are serious, severe and permanent.
Il. As a direct result of the above accident, the plaintiff, Charles Romeo suffered severe and
permanent injuries, including but not limited to injuries to his right foot and ankle, low back and
left knee, and a severe shock to his nerves and nervous system, all of which injuries are or will
prove to be of a permanent nature or character, whereby he has suffered, is suffering, and will
suffer for an indefinite time into the future, all to his great detriment and loss.
12. By reason of the aforesaid, the plaintiff, Charles Romeo, has been and may in the future
be prevented from attending to his usuai and customary wants, duties, toils, labors, occupations
and avocations, thereby foregoing the pleasures and emoluments attendant thereto, all to his
great detriment and loss.
13, By reason of the aforesaid, the plaintiff, Charles Romeo has and may in the future be
required to expend various sums of money in an endeavor to treat and cure himself of his
aforesaid injuries, all to his great detriment and loss.

WHEREFORE, plaintiff, Charles Romeo, demands judgment against defendant for an

amount not in excess of $50,000.00

HOWARD A. TAYLOR, LLC

BY: S/ DEAN L ORLOFF
Dean I. Orloff, Esquire

Case ID: 130200868
 

 

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CERTIFICATE OF SERVICE

~ 1, LAWRENCE M. KELLY, ESQUIRE, do hereby certify that a true and correct
copy of the within PETITION FOR REMOVAL was forwarded by First Class Mail,
postage pre-paid on the 4th day of March, 2013 as follows:

Dean I. Orloff, Esquire
HOWARD A. TAYLOR, LLC
123 South Broad Street, Suite 1310
Philadelphia, PA 19109 ; / i
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LAWRENCE M. KELLY, HSQUIRE
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